                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      Civil Action No. 1:20-cv-613-CCE-LPA



NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,
et al.,
                     Plaintiffs,                              NOTICE OF SETTLEMENT
       v.
JERRY PETERMAN, et al.,


                     Defendants.


        Pursuant to Local Civil Rule 83.3, Plaintiffs and the defendants officially

 associated with Alamance County (“the Alamance Defendants”) hereby give notice that

 they have settled Plaintiffs’ claims to attorney’s fees and costs associated with this

 matter. Counsel for the Alamance Defendants agree that the funds will be forwarded to

 Plaintiffs’ counsel within 14 days of the filing of this Notice.



Respectfully submitted this 28th day of June, 2021 by:

[Signatures on following page]




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                             CERTIFICATE OF SERVICE

       I certify that on June 28, 2021, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will provide notice to all counsel

of record.



                                                                 /s/ Kristi L. Graunke
                                                                 Counsel for Plaintiffs




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